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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 L'.S.C. § 3582(c)(1)(B)     Page 1 of2(Page 2.N,ot for Public Disclosure)


                                       United States District Court
                                                                          for the
                                                                                                                  20l9SEP-l» PHI2-09
                                                     Southern           District of         Georgia
                                                                Statesboro Division
                                                                                                                 CLERK
                                                                                                                          SO
                     United States of America
                                     V.

                                                                                 Case No:        6:10CR00006-2
                        Damon Antron Johnson

                                                                                 USMNo:          15518-021
Date of Original Judgment:         November 23,2010
Date of Previous Amended Judgment: N/A _                                         George T. Jackson
(Use Dale ofLast Amended Judgment ifAny)                                         Defendant's Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

        Upon motion of ^ the defendant D the Director of the Bureau of Prisons D the court under 18 U.S.C.
§ 3582(c)( 1 )(B)for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         S DENIED. D GRANTED and the defendant's previously imposed sentence of imprisonment (as refected in
the lastJudgment issued) of                                              months Is reduced to




Except as otherwise provided, all provisions of the judgment dated                       November 23_^2010 shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                       Judge's rgnature

Effective Date:                                                      ^RandalJj^IVCh ief J udge
                                                                      United States District Court
                                                                     Southern District of Georgia
